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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

                                  )
KEVIN J. SMITH,                   )
                                  )
         Plaintiff,               )
     v.                           ) Case No.: 5:18-cv-118
                                  )
                                  )
CHW GROUP, INC. d/b/a CHOICE HOME )
WARRANTY,                         )
                                  )
         Defendant.               )
                                  )

                                 PLAINTIFF’S COMPLAINT

      Plaintiff, KEVIN J. SMITH (“Plaintiff”), by and through his attorneys, Agruss Law Firm,

LLC, alleges the following against Defendant, CHW GROUP, INC. d/b/a CHOICE HOME

WARRANTY (“Defendant”):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47 U.S.C.

      § 227, et seq. (“TCPA”).

                               JURISDICTION AND VENUE

   2. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337.

   3. This court has federal question jurisdiction because this case arises out of violations of

      federal law. 47 U.S.C. § 227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   4. Venue and personal jurisdiction in this District are proper because Defendant does or

      transacts business within this District, and a material portion of the events at issue occurred

      in this District.




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                                         PARTIES

5. Plaintiff is a natural person residing in the City of Littlefield, Lamb County, State of Texas.

6. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

   153(39).

7. Defendant is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

   153(39).

8. Defendant is a New Jersey business corporation based in the Township of Edison,

   Middlesex County, State of New Jersey.

9. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

10. Within four (4) years of Plaintiff filing this Complaint, in or around January 2018,

   Defendant began calling Plaintiff’s cellular telephone at xxx-xxx-0305, which included or

   introduced an advertisement or constituted telemarketing.

11. Within four (4) years of Plaintiff filing this Complaint, in or around January 2018,

   Defendant called Plaintiff’s cellular telephone from several telephone numbers, including,

   732-374-3353 and 732-374-3396, which are two of the Defendant’s telephone numbers.

12. During the month of January 2018, Plaintiff answered at least one call placed by Defendant

   to Plaintiff.

13. During the aforementioned call, Plaintiff told Defendant to stop calling him because

   Plaintiff would contact Defendant when and if he wanted more information from it.

14. Despite Plaintiff’s request that Defendant stop calling Plaintiff on his cellular telephone,

   Defendant continued to call Plaintiff’s cellular telephone.



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15. During the month of January 2018, using Defendant’s website, Plaintiff opted out of

   receiving further contact from Defendant.

16. Despite Plaintiff’s opting out of further contact from Defendant, Defendant continued to

   call Plaintiff’s cellular telephone.

17. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

18. None of the calls Defendant made to Plaintiff were for an emergency purpose.

19. All of the calls Defendants made to Plaintiff’s cellular telephone resulted in Plaintiff

   incurring a charge for incoming calls.

20. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

21. Plaintiff has never given to Defendant prior express written consent to contact Plaintiff as

   described herein.

22. Even if Plaintiff provided Defendant with his cellular telephone number, Defendant failed

   to provide Plaintiff with clear and conspicuous disclosure that Defendant would contact

   Plaintiff with an automatic telephone dialing system (“ATDS”).

23. Defendant has never obtained prior express written consent from Plaintiff to contact

   Plaintiff as described herein.

24. Even if at one point Defendant had prior express written consent to call Plaintiff’s cellular

   telephone, Plaintiff revoked this consent as described above.

25. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

   wanted the calls to stop.

26. Within four (4) years of Plaintiff filing this Complaint, Defendant used an ATDS to call



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   Plaintiff’s cellular telephone.

27. When Plaintiff answered Defendant’s calls, he was sometimes greeted with “dead air”

   whereby no person was on the other end of the line. After several seconds, an agent was

   connected to the automated call then greeted Plaintiff and sought to speak with Plaintiff

   attempting to solicit the sale of a home warranty.

28. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to store telephone numbers.

29. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers automatically.

30. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers without human intervention.

31. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

32. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

33. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

34. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

   simultaneously calls multiple recipients.

35. The dead air that the Plaintiff may have experienced on the calls that he received is

   indicative of the use of an ATDS. This “dead air” is commonplace with autodialing and/or

   predictive dialing equipment. It indicates and evidences that the algorithm(s) being used

   by Defendant’s autodialing equipment to predict when the live human agents are available



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   for the next call has not been perfected and/or has not been recently refreshed or updated.

   Thus, resulting in the autodialer placing a call several seconds prior to the human agent’s

   ability to end the current call he or she is on and be ready to accept the new connected call

   that the autodialer placed, without human intervention, to Plaintiff. The dead air is

   essentially the autodialer holding the calls it placed to Plaintiff until the next available

   human agent is ready to accept them. Should the calls at issue been manually dialed by a

   live human being, there would be no such dead air as the person dialing Plaintiff’s cellular

   telephone would have been on the other end of the call the entire time and Plaintiff would

   have been immediately greeted by said person.

36. As a result of Defendant’s alleged violations of law by placing these automated calls to

   Plaintiff’s cellular telephone without prior express written consent, Defendant caused

   Plaintiff harm and/or injury such that Article III standing is satisfied in at least the

   following, if not more, ways:

         a. Invading Plaintiff’s privacy;
         b. Electronically intruding upon Plaintiff’s seclusion;
         c. Intrusion into Plaintiff’s use and enjoyment of his cellular telephone;
         d. Impermissibly occupying minutes, data, availability to answer another call, and
            various other intangible rights that Plaintiff has as to complete ownership and use
            of his cellular telephone; and
         e. Causing Plaintiff to expend needless time in receiving, answering, and
            attempting to dispose of Defendant’s unwanted calls.

DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

37. Defendant’s conduct violated the TCPA by:

       a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

           automatic telephone dialing system and/or pre-recorded or artificial voice in

           violation of 47 U.S.C. § 227 (b)(1)(A)(iii).




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      WHEREFORE, Plaintiff, KEVIN J. SMITH, respectfully requests judgment be entered

against Defendant, CHW GROUP, INC. d/b/a CHOICE HOME WARRANTY for the following:

   38. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff is entitled

      to and requests $500 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. § 227(b)(3)(B).

   39. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500, for

      each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

      § 227(b)(3)(C).

   40. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   41. Any other relief that this Honorable Court deems appropriate.

DATED: May 9, 2018

                                      Respectfully submitted,
                                      AGRUSS LAW FIRM, LLC

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